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11                              IN THE UNITED STATES DISTRICT COURT

12                           FOR THE EASTERN DISTRICT OF CALIFORNIA

13                                        SACRAMENTO DIVISION

14

15
       RALPH COLEMAN, et al.,                               2:90-cv-00520 KJM-DB (PC)
16
                                            Plaintiffs, DEFENDANTS’ MOTION FOR
17                                                      RECONSIDERATION, REQUEST TO
                      v.                                VACATE THE APRIL 21, 2020
18                                                      EVIDENTIARY HEARING, AND
                                                        ALTERNATIVE REQUEST FOR
19     GAVIN NEWSOM, et al.,                            CLARIFICATION OF APRIL 10, 2020
                                                        ORDER (ECF NO. 6600)
20                                         Defendants.

21

22                                             INTRODUCTION
23           Defendants request the Court to reconsider its April 10, 2020 order setting an evidentiary

24     hearing regarding the Department of State Hospitals’ (DSH) admissions and discharge policy.

25     State officials are working around the clock to combat a global pandemic that has no foreseeable

26     horizon. In this time of worldwide crisis, any evidentiary hearing will significantly impair and

27     divert resources from DSH’s ability to manage the ongoing COVID-19 crisis and the

28     consequence will be less time and energy to devote to staff and patient care and safety.
                                                      1
                                Defs.’ Mot. for Reconsideration; Req. for Clarification (2:90-cv-00520 KJM-DB (PC))
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 1     Furthermore, the evidentiary hearing is no longer necessary, as its apparent focus, DSH’s

 2     suspension of intake for Coleman class members, is no longer in effect.

 3           If the Court wants to nonetheless hold an evidentiary hearing, Defendants request

 4     clarification so that they have adequate due process and understand the hearing’s purpose and

 5     scope. The Court’s April 10, 2020 order setting the evidentiary hearing provides little direction

 6     as to what specific factual issues will be the subject of the hearing or that call for witness

 7     testimony, which party holds the burden of proof, and whether any other witnesses, apart from

 8     those listed in the order, may be called and questioned. Defendants also request clarification

 9     concerning the witness examination process, such as whether the Court intends to examine

10     witnesses, as it did during the Dr. Golding proceedings, with counsel asking follow-up questions.

11     Given the pending worldwide COVID-19 crisis, which has no horizon, Defendants do not want to

12     engage in unnecessary litigation. But if the Court intends to hold a trial, Defendants have well-

13     established due-process rights, including the necessity of sufficient notice to adequately prepare

14     for the trial so they can make a full record showing that they have appropriately exercised their

15     executive authority to, like here, make rational and informed decisions to keep patients with

16     serious mental illness safe in unexpected and unpredictable situations.

17                                               BACKGROUND
18           The world, like DSH and the California Department of Corrections and Rehabilitation

19     (CDCR), continues to be in extreme crisis management to prevent and limit the spread of

20     COVID-19. The Court directed its Special Master and team of experts to hold task-force

21     meetings to monitor Defendants’ collective COVID-19 response, which have been robust and

22     productive (as the Special Master reported in his most recent report (ECF No. 6579) and at the

23     April 10, 2020 status conference (ECF No. 6602)), including with respect to DSH’s response to

24     the worldwide pandemic and ongoing crisis.

25           Although the Court established the task force to avoid litigation, presumably so that State

26     officials could focus on protecting inmate-patients and staff in an ever-evolving pandemic

27     requiring real-time decision-making, the Court issued an order to show cause for DSH to “show

28     why [the] court should not order defendants promptly to admit Coleman class members to
                                                      2
                                 Defs.’ Mot. for Reconsideration; Req. for Clarification (2:90-cv-00520 KJM-DB (PC))
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 1     Coleman-designated inpatient beds in DSH consistent with the protocols established for

 2     admission of OMHDs to DSH facilities.” (ECF No. 6572 at 2.) DSH presented uncontroverted

 3     evidence showing why the Court should discharge the order to show cause, including productive

 4     ongoing discussions between DSH, CDCR, and the Special Master’s experts regarding a protocol

 5     for resuming the transfer of Coleman class members to DSH in a safe and controlled manner

 6     during the COVID-19 global emergency, the real dangers DSH faced (and continues to face)

 7     when it initially suspended transfers, and the deference DSH was due during an emergency of this

 8     magnitude. As Defendants briefly explained during the April 10, 2020 status conference, DSH is

 9     working in real time to address this still-evolving pandemic. New facts and circumstances exist

10     to obviate the need for an evidentiary hearing.

11           DSH is authorized to make executive decisions in crisis and emergency circumstances to

12     protect its patients and staff. Exercising appropriate authority, the State’s Executive Branch has

13     made, and continues to make, informed decisions to address COVID-19. (See ECF No. 6591 at

14     10-11.) DSH’s admissions and discharge policy at issue here expired on April 15, 2020, and,

15     consistent with its authority, DSH will not be renewing the suspension of admissions of Coleman

16     patients. (Hendon Decl., ¶ 9; Ex. A.) Instead, DSH is implementing a protocol to resume limited

17     transfers of appropriately screened inmates to DSH, including Coleman patients, during the

18     pandemic. (Hendon Decl., ¶ 10; Ex. B.) Given that Coleman patients will now be admitted to

19     DSH hospitals as clinically indicated, there is no longer any need for an evidentiary hearing.

20     Defendants are working daily to enact progressive, robust, and proactive measures to prevent and

21     manage the spread of COVID-19 (all of which are available to this Court and the public1)

22     throughout CDCR, including to DSH facilities, which to date have no patients testing positive for

23     the disease. (Hendon Decl., ¶ 15.) Recently, Defendants in the Plata v. Newsom case filed

24     extensive evidence showing the pre-emptive and on-going pro-active collaborative steps taken by

25     the Governor, CDCR, and the Plata Receiver to meet this crisis.2 For all of these reasons, the

26     Court’s proposed evidentiary hearing is premature, if not moot.

27            1
                See website https://www.cdcr.ca.gov/covid19/ (last accessed April 15, 2020.)
              2
               See ECF Nos. 3272, 3274, 3275, 3277, 3278, and 3283 in Plata v. Newsom, No. 01-cv-
28     1351-JST (N.D. Cal.).
                                                    3
                                Defs.’ Mot. for Reconsideration; Req. for Clarification (2:90-cv-00520 KJM-DB (PC))
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 1                                                 DISCUSSION

 2     I.    THE COURT SHOULD RECONSIDER ITS ORDER AND VACATE THE EVIDENTIARY
             HEARING SO DEFENDANTS CAN CONTINUE TO FOCUS ON PROTECTING PATIENTS
 3           FROM COVID-19.

 4           A district court has the inherent power to reconsider and modify its interlocutory orders

 5     prior to the entry of judgment. Smith v. Massachusetts, 543 U.S. 462, 475 (2005).

 6     Reconsideration of an order is appropriate if the district court is presented with newly discovered

 7     evidence or committed clear error, or if there is an intervening change in the controlling law.

 8     Kona Enterprises, Inc. v. Estate of Bishop, 229 F.3d 877, 890 (9th Cir. 2000).

 9           Here, the Court appears to have set this matter for an evidentiary hearing to determine the

10     propriety and constitutional effect of DSH’s suspension of new admissions to its hospitals,

11     although the specific topics or scope of the hearing are not clear. (See ECF No. 6600 at 3.)

12     Reconsideration of the April 10, 2020 order is appropriate because the circumstances have

13     changed since the Court set the evidentiary hearing. Specifically, DSH’s suspension of

14     admissions of Coleman patients will lapse on April 16, 2020 and be replaced with a protocol to

15     ensure the safe transfer of inmates most in need of its beds.3 (Hendon Decl., ¶ XX.) DSH’s new

16     policy will allow for the admission of Coleman patients to DSH hospitals based on individual

17     needs and subject to certain protocols designed to minimize the risk of COVID-19 transmission.

18     (Hendon Decl., ¶¶ 10, 13; Ex. B.) As such, no evidentiary hearing is necessary because Coleman

19     patients are being offered controlled access to DSH inpatient services.

20           An evidentiary hearing at this time would also undermine State actors’ ability to make

21     informed, reasonable, responsive, and critical decisions in moments of crisis like the pandemic

22     still challenging world leaders right now. Defendants’ response to the order to show cause

23     addressed the deference due the executive branch, including prison and state hospital officials,

24     entrusted with the care of mentally ill inmates. As the United States Court of Appeal for the Fifth

25     Circuit recently noted, state authorities are entitled to great deference concerning responses to a

26     public health crisis. In re: Abbott, Case No. 20-50264, Document No. 00515374865 (5th Cir.,

27
              3
             DSH will continue its temporary suspension of other classes of patients as part of its
28     COVID-19 mitigation efforts. (Declaration of C. Hendon, ¶ 14.)
                                                     4
                                 Defs.’ Mot. for Reconsideration; Req. for Clarification (2:90-cv-00520 KJM-DB (PC))
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 1     Apr. 7, 2020). “[W]hen faced with a society-threatening epidemic, a state may implement

 2     emergency measures that curtail constitutional rights so long as the measures have at least some

 3     ‘real or substantial relation’ to the public health crisis and are not ‘beyond all question, a plain,

 4     palpable invasion of rights secured by the fundamental law.’” Id. at 13 (citing Jacobson v.

 5     Commonwealth of Massachusetts, 197 U.S. 11, 31 (1905)). “Courts may ask whether the state’s

 6     emergency measures lack basic exceptions for ‘extreme cases,’ and whether the measures are

 7     pretextual—that is, arbitrary or oppressive. Id. (citing Jacobson at 38). At the same time,

 8     however, courts may not second-guess the wisdom or efficacy of the measures. Id. (citing

 9     Jacobson, 197 U.S. at 28, 30). Further, “[i]t is no part of the function of a court” to decide which

10     measures are “likely to be the most effective for the protection of the public against disease.” Id.

11     (citing Jacobson, 197 U.S. at 30). A court’s “fail[ure] to apply (or even acknowledge) the

12     framework governing emergency exercises of state authority during a public health crisis,

13     established over 100 years ago in Jacobson v. Commonwealth of Massachusetts, 197 U.S. 11

14     (1905)” is “extraordinary error.” Id. at 10; see also id. at 13 (“Jacobson remains good law”).

15           Similarly, on the same date as this Court’s most recent status conference, an Illinois district

16     court emphasized the deference due state officials in the prison context when responding to this

17     pandemic. Money v. Pritzker, --- F. Supp. 3d ---, 2020 WL 1820660, at *1 (N.D. Ill. Apr. 10,

18     2020). Actions that require courts to get involved in prison management raise “serious concerns

19     under core principles of federalism and the separation of powers.” Id. at *15. Federalism

20     counsels against courts getting involved in state prison management, while the separation of

21     powers commits the task of running prisons to the “executive and legislative branches.” Id. at

22     *16. The concerns about “institutional competence [are] especially great where, as here, there is

23     an ongoing, fast-moving public health emergency.” Id.

24           DSH took temporary and appropriate action to prevent the introduction and spread of

25     COVID-19 within its facilities to protect their staff and patients, which includes Coleman class

26     members. (See ECF No. 6590.) Now, responding to fast-evolving circumstances, DSH has

27     implemented a policy allowing for essential transfers of Coleman class members in a safe and

28     controlled manner. The Court should afford those decisions significant deference, particularly
                                                     5
                                  Defs.’ Mot. for Reconsideration; Req. for Clarification (2:90-cv-00520 KJM-DB (PC))
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 1     given that DSH continues to work with the Special Master to see if it can reach agreement on the

 2     specifics of that policy for transferring patients as safely as possible based on evolving public

 3     health recommendations and as new evidence emerges. Good cause exists for this Court to

 4     reconsider its April 10 order, and the April 21 evidentiary hearing should be vacated.

 5     II.   DEFENDANTS REQUEST THAT THE COURT CLARIFY THE NATURE OF ANY
             EVIDENTIARY HEARING.
 6

 7           If the Court elects to proceed with the April 21 evidentiary hearing, Defendants need clarity
 8     to adequately prepare for trial and make a full and complete record. The Court’s April 10 order
 9     stated only that it intends to hold a focused evidentiary hearing “on the issue of Coleman class
10     members’ access to DSH hospitals,” with “testimony from Drs. Warburton and Bick and an
11     expert to be designated by plaintiffs[.]” (ECF 6600 at 4.) This vague description provides
12     insufficient information for Defendants to adequately prepare for an evidentiary hearing set on
13     just 11 days’ notice—with the Court giving Plaintiffs expedited discovery and demanding that
14     Defendants meet other obligations on shortened time apart from the trial. (Id. at 3.)
15           Defendants are entitled to due process. At a minimum, they must be informed of the
16     purpose of the hearing, which party bears the burden of proof, and whether the parties will be
17     conducting the examinations or allowed to cross-examine or call additional witnesses. Are
18     Defendants allowed to submit trial briefs and motions in limine? Will the Court allow opening
19     and closing statements? Will the Court, as it did during the Dr. Golding evidentiary proceeding,
20     ask questions first, and in which order will the parties be allowed to examine the witnesses? Will
21     the Court again give Plaintiffs the opportunity to conduct direct and re-direct witness
22     examinations? Can the parties submit proposed factual findings and legal conclusions?
23     Moreover, depending on the issues set for this “focused” hearing, Defendants note that the
24     witnesses the Court identified—Dr. Bick, Dr. Warburton, and Plaintiffs’ expert Dr. Stern—may
25     not be best positioned to provide relevant testimony. Will Defendants have an opportunity to
26     designate rebuttal witnesses, including expert witnesses? The Court’s order setting this
27     evidentiary hearing raises many unanswered questions. In the event that the Court is considering
28
                                                           6
                                 Defs.’ Mot. for Reconsideration; Req. for Clarification (2:90-cv-00520 KJM-DB (PC))
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 1     the April 21, 2020 evidentiary hearing to be part of a larger contempt proceeding centered around

 2     its April 10, 2020 order to show cause, Defendants are entitled to additional procedural

 3     protections that are not present here.4 Defendants are entitled to a fair hearing with notice as to

 4     the expectations placed upon them. Defendants therefore seek clarification of the nature of this

 5     evidentiary hearing well in advance of the April 21 hearing. Once the Court has set forth clear

 6     parameters for the hearing, Defendants request that they be permitted to submit a list of proposed

 7     witnesses to respond to the Court’s questions.

 8                                                 CONCLUSION
 9           In light of DSH’s newly adopted admission protocols and the deference accorded to the

10     executive branch in times of severe crisis, the Court should reconsider its April 10 order and

11     vacate the April 21 evidentiary hearing so Defendants can focus on their work of preventing and

12     managing the spread of COVID-19. But if the Court wants to proceed with the evidentiary

13     hearing, Defendants are entitled to due process, and they ask that the Court clarify its April 10

14     order and identify the hearing’s scope and procedures so Defendants can make a clear record.

15     Dated: April 15, 2020                                     Respectfully submitted,
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18
                                                                 /s/ Lucas Hennes
19
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21
       CF1997CS0003
22     FINAL DRAFT motion for reconsideration of 4.10.20 order

23             4
                 In the Ninth Circuit, a contemnor must be afforded “‘reasonable notice of the specific
       charges and an opportunity to be heard,’ and such notice of the contempt charge “must be explicit
24     in order to conform to the requirements of due process.” Little v. Kern Cty. Superior Ct., 294
       F.3d 1075, 1080-81 (9th Cir. 2002) (citations omitted). To show civil or criminal contempt, a
25     court must determine that: 1) a court order was in effect, 2) the order required specific conduct
       by respondent, and 3) the respondent failed to comply with the court’s order. United States v.
26     City of Jackson, Miss., 359 F.3d 727, 731 (5th Cir. 2004). The party moving to hold a party in
       civil contempt must prove each element by clear and convincing proof, rather than a
27     preponderance of evidence. Alternatively, criminal contempt requires proof beyond a reasonable
       doubt and a jury trial for serious criminal contempt. Int'l Union, United Mine Workers of Am. v.
28     Bagwell, 512 U.S. 821, 827 (1994).
                                                         7
                                  Defs.’ Mot. for Reconsideration; Req. for Clarification (2:90-cv-00520 KJM-DB (PC))
